       Case 8-20-08140-reg            Doc 16       Filed 06/28/22      Entered 06/28/22 17:39:47




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------- X
                                                           :   Chapter 11
                                                           :
                                                           :   Case No. 19-71020 (REG)
IN RE:                                                     :   Case No. 19-71022 (REG)
                                                           :   Case No. 19-71023 (REG)
                                           1
DÉCOR HOLDINGS, INC., et. al.,                             :   Case No. 19-71024 (REG)
                                                           :   Case No. 19-71025 (REG)
                  Post-Confirmation Debtors.               :
                                                           :   (Substantively Consolidated)
                                                           :
                                                           :   Hon. Robert E. Grossman
---------------------------------------------------------- X
BRYAN RYNIKER, IN HIS CAPACITY AS :
LITIGATION ADMINISTRATOR OF THE                            :
POST-CONFIRMATION ESTATES OF                               :
DÉCOR HOLDINGS, INC., et al.,                              :
                                                           :
                           Plaintiff,                      :
                                                           :   Adv. Pro. No. 20-08140 (REG)
                  v.                                       :
                                                           :
VALDESE WEAVERS, LLC,                                      :
                                                           :
                           Defendant.                      :
---------------------------------------------------------- X

                                 JOINT PRETRIAL MEMORANDUM

        Plaintiff Brian Ryniker in his capacity as the Litigation Administrator (the “Litigation

Administrator”) of the post-confirmation estates of Décor Holdings, Inc., et al. (the “Debtors”)

and Defendant Valdese Weavers, LLC (“Valdese”), by and through counsel, submit this Joint

Pretrial Memorandum pursuant to Paragraph 2 of the Final Pretrial Order [Dkt. No. 14].




        1
            The debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Décor Holdings, Inc. (4174); Décor Intermediate Holdings LLC (5414); RAD Liquidation
Inc. (f/k/a The Robert Allen Duralee Group, Inc.) (8435); RAD Liquidation LLC (f/k/a The Robert Allen Duralee
Group, LLC) (1798); and RADF LLC (f/k/a The Robert Allen Duralee Group Furniture, LLC) (2835).
      Case 8-20-08140-reg        Doc 16     Filed 06/28/22     Entered 06/28/22 17:39:47




(A)    The name, address and telephone number of each witness, separately identifying
       those whom the party expects to present and those whom the party may call if the
       need arises.

       Attached hereto as Exhibits A and B is the Litigation Administrator’s and Valdese’s

witness lists, respectively. No witness not identified in Exhibits A and B shall be permitted to

testify on either party’s case in chief absent good cause shown.

(B)    A list of witnesses whose testimony is expected to be presented by means of a
       deposition and, if taken stenographically, a transcript of the pertinent portions of the
       deposition testimony.

       No such testimony will be given.

(C)    A list of witnesses intended to be called as experts, together with any objections to
       their qualification.

       No expert witness will be called by either party.

(D)    A list of (i) all exhibits stipulated to be admissible, (ii) plaintiff’s proposed additional
       exhibits and (iii) any other party’s proposed additional exhibits.

       Attached hereto as Exhibits C and D is the Litigation Administrator’s and Valdese’s

exhibit lists, respectively. No exhibit not listed in Exhibits C and D may be used at trial except

(a) for cross-examination purposes or (b) if good cause for its exclusion from the pretrial order is

shown. Any objections not set forth in Exhibits C and D will be considered waived absent good

cause shown.

(E)    A statement of any objection, together with the grounds therefor, reserved as to the
       admissibility of a deposition designated by another party and/or to the admissibility
       of documents or exhibits.

       The parties state that no deposition testimony is being designated by either party. The

parties’ objections to the admissibility of the other party’s proposed documents and exhibits is

found in Exhibits C and D, respectively.




                                                 2
      Case 8-20-08140-reg        Doc 16      Filed 06/28/22     Entered 06/28/22 17:39:47




(F)    Statement confirming that the parties have exchanged copies of the exhibits.

       The parties confirm that they have exchanged copies of the other party’s exhibits, other

than potential exhibits that are yet to be produced in connection with a trial subpoena.

(G)    Facts which are admitted and which require no proof.

       The parties stipulate to the facts in Exhibit E. These stipulated facts require no proof at

trial and will become part of the evidentiary record in this case.

(H)    The issues of fact which remain to be litigated (evidence at trial shall be limited to
       these issues).

       The issues of facts, which remain to be litigated is contained in Exhibit F.

(I)    The issues of law to be determined.

       The parties’ joint issues of law to be determined is contained in Exhibit G.

(J)    A brief statement summarizing the Plaintiff’s case.

       The Litigation Administrator’s brief statement summarizing his case is contained in

Exhibit H.

(K)    A brief statement summarizing the Defendant’s case.

       Valdese’s brief statement summarizing its case is contained in Exhibit I.


                           [Remainder of Page Intentionally Left Blank]




                                                  3
       Case 8-20-08140-reg     Doc 16   Filed 06/28/22    Entered 06/28/22 17:39:47




 Dated: New York, New York                       Dated:      New York, New York
        June 28, 2022                                        June 28, 2022

 OLSHAN FROME WOLOSKY LLP                        LOEB & LOEB LLP

 By: /s/ Jonathan T. Koevary                     By: /s/ Noah Weingarten
 Michael S. Fox                                  Schuyler G. Carroll
 Jonathan T. Koevary                             Noah Weingarten
 1325 Avenue of the Americas                     345 Park Avenue
 New York, NY 10019                              New York, New York 10154
 Tel.: (212) 451-2300                            Tel.: (212) 407-4000
 mfox@olshanlaw.com                              scarroll@loeb.com
 jkoevary@olshanlaw.com                          nweingarten@loeb.com

 Attorneys for Valdese Weavers, LLC              Attorneys for Brian Ryniker,
                                                 Litigation Administrator
22167796




                                            4
